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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


 JOHN B. MALTAGLIATI, Individually and on             Case No.
 behalf of all others similarly situated,
                                                      CLASS ACTION COMPLAINT FOR
         Plaintiff,                                   VIOLATION OF THE FEDERAL SECURITIES
                                                      LAWS
         v.
                                                      JURY TRIAL DEMANDED
 META MATERIALS INC. F/K/A
 TORCHLIGHT ENERGY RESOURCES, INC.,                   CLASS ACTION
 GEORGE PALIKARAS, KENNETH RICE,
 GREG MCCABE, and JOHN BRDA,

         Defendants.



       Plaintiff John B. Maltagliati (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter alia,

the investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of the defendants’ public documents, conference calls and announcements made

by defendants, United States Securities and Exchange Commission (“SEC”) filings, wire and
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press releases published by and regarding Meta Materials Inc. f/k/a Torchlight Energy

Resources, Inc. (“Meta” or the “Company”), analysts’ reports and advisories about the Company,

and other information readily obtainable on the Internet. Plaintiff believes that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity

for discovery.

                                   NATURE OF THE ACTION

           1.    This is a federal securities class action on behalf of a class consisting of all

persons and entities other than Defendants who purchased or otherwise acquired the publicly

traded securities of the Company between September 21, 2020 and December 14, 2021, both

dates inclusive (the “Class Period”). Plaintiff seeks to recover compensable damages caused by

Defendants’ violations of the federal securities laws and to pursue remedies under Sections 10(b)

and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5

promulgated thereunder.

                                 JURISDICTION AND VENUE

           2.    The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§78j(b) and §78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. §240.10b-5).

           3.    This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§1331 and §27 of the Exchange Act.

           4.    This Court has jurisdiction over each defendant named herein because each

defendant has sufficient minimum contacts with this judicial district so as to render the exercise

of jurisdiction by this Court permissible under traditional notions of fair play and substantial

justice.



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       5.      Venue is proper in this judicial district pursuant to §27 of the Exchange Act (15

U.S.C. §78aa) and 28 U.S.C. §1391(b) as the alleged misstatements entered and subsequent

damages took place within this judicial district.

       6.      In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

       7.      Plaintiff, as set forth in the accompanying Certification, purchased the Company’s

securities at artificially inflated prices during the Class Period and was economically damaged

thereby.

       8.      Defendant Meta purports to be a developer of high-performance functional

materials and nanocomposites. Before the business combination with Metamaterial Inc.

(“Metamaterial”), which closed June 28, 2021 (the “Business Combination”), the Company was

known as “Torchlight Energy Resources, Inc.”

       9.      Defendant Meta is incorporated in Nevada with its headquarters in Dartmouth,

Nova Scotia, Canada. Meta’s common stock is listed on NASDAQ under the ticker symbol

“MMAT.” Prior to the merger, the Company’s shares traded on NASDAQ under the ticker

symbol “TRCH.”

       10.     Defendant George Palikaras (“Palikaras”) was at all pertinent times the founder

and Chief Executive Officer (“CEO”) of Metamaterial. Since the merger, Defendant Palikaras

has served as the CEO, President, and as a Director of the Company.




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       11.    Defendant Kenneth Rice (“Rice”) was the Chief Financial Officer (“CFO”) and

Executive Vice President (“EVP”) of Metamaterial. Since the merger, Defendant Rice has served

as the CFO and EVP of the Company.

       12.    Defendant Greg McCabe (“McCabe”), prior to the Business Combination, was the

Company’s Chairman of the Board of Directors.

       13.    Defendant John Brda (“Brda”), prior to the Business Combination, was the

Company’s President, CEO, and Secretary.

       14.    Defendants Palikaras, Rice, McCabe, and Brda are collectively referred to herein

as the “Individual Defendants.”

       15.    Each of the Individual Defendants:

       (a)    directly participated in the management of the Company;

       (b)    was directly involved in the day-to-day operations of the Company at the highest

              levels;

       (c)    was privy to confidential proprietary information concerning the Company and its

              business and operations;

       (d)    was directly or indirectly involved in drafting, producing, reviewing, and/or

              disseminating the false and misleading statements and information alleged herein;

       (e)    was directly or indirectly involved in the oversight or implementation of the

              Company’s internal controls;

       (f)    was aware of or recklessly disregarded the fact that the false and misleading

              statements were being issued concerning the Company; and/or

       (g)    approved or ratified these statements in violation of the federal securities laws.




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       16.      The Company is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency because all of

the wrongful acts complained of herein were carried out within the scope of their employment.

       17.      The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to the Company under respondeat superior and agency principles.

       18.      The Company and the Individual Defendants are referred to herein as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                          Materially False and Misleading Statements

       19.      On September 21, 2020, the Company issued a press release entitled

“TORCHLIGHT          AND      METAMATERIAL           ANNOUNCE          PLANNED        BUSINESS

COMBINATION” which announced the Business Combination and stated the following, in

pertinent part, regarding Metamaterial’s agreements, commercialization, products, and

production:

       META has an extensive intellectual property portfolio, a global presence and
       multiple R&D and product development agreements with government agencies
       and private enterprises. The combined entity will continue to service a clientele of
       world-class OEM customers for a range of applications in the automotive,
       aerospace and defense, energy, consumer electronics and medical markets.
                                          *      *    *
       “META’s management, led by George Palikaras has built an extraordinary award-
       winning cleantech company whose proprietary advanced technologies address
       multiple markets and improve their customer’s capabilities,” said Greg McCabe,
       Torchlights [sic] Chairman.
                                          *      *    *
       META’s products are designed and manufactured with environmental
       sustainability as a high priority. … META has also partnered with Lockheed
       Martin and the Canadian Government’s Sustainable Development Technology
       Canada (SDTC) fund to develop metaSOLARTM a new solar energy product
       suitable for the transportation industry.




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          Since 2011, approximately CAD $60MM has been invested in META, yielding a
          sizable IP portfolio. In 2020 to date, META has been granted 11 new patents.
          META has a total of 52 granted and 37 pending patent applications, including 26
          in the United States and 63 in 18 other countries around the world. META’s
          portfolio comprises 28 patent families, 19 of which are granted.

          (Emphasis added.)

          20.    On December 14, 2020, the Company issued a press release entitled

“METAMATERIAL AND TORCHLIGHT SIGN DEFINITIVE AGREEMENT FOR

BUSINESS COMBINATION” which stated the following regarding Metamaterial’s

commercialization, products, and production:

          “We are very excited to sign the definitive agreement with Metamaterial,” stated
          John Brda, Torchlight’s CEO. “We believe this Transaction provides our
          shareholders with the best opportunity moving forward. Metamaterial offers
          proven disruptive technology with strong environmental, social and governance
          (ESG) priorities. This Transaction provides our shareholders with access to the
          multi-billion-dollar markets that Metamaterial serves …”

          “META’s management, led by George Palikaras, has built an extraordinary
          award-winning cleantech company whose proprietary advanced technologies
          address multiple markets and improve their customers’ capabilities,” said Greg
          McCabe, Torchlight’s Chairman.

          (Emphasis added.)

          21.    On June 16, 2021 and June 21, 2021, the Company filed with the SEC prospectus

supplements on Forms 424B5 which stated the following, in pertinent part, regarding
Metamaterial’s commercialization, products, and production: “Meta’s advanced structural

design technologies and scalable manufacturing methods provide a path to broad commercial

opportunities in aerospace, medical, automotive, energy and other industries.” (Emphasis

added.)

          22.    On July 6, 2021, the Company issued a press release entitled “META

COMPLETES UK-FUNDED PROJECT TOWARDS DEVELOPING NON-INVASIVE




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GLUCOSE SENSING SYSTEM” which stated the following, in pertinent part, regarding the

Company’s products:

         Meta Materials Inc. (the “Company” or “META®”) (NASDAQ:MMAT) a
         developer of high-performance functional materials and nanocomposites, today
         announced the conclusion of a 27-month long project to develop a non-invasive
         glucose sensing prototype, which combined radio wave and optical sensors to
         improve accuracy in predicting glucose level changes. …




               … Preliminary results of the project, using an early prototype
               system,      were     published    in     the     journal     Sensors
               (https://doi.org/10.3390/s21093275), which may also be found on
               META’s website under Applications / Medical Applications. The
               novel multiwavelength biosensing technology is protected with
               two patent applications filed in 2021 and extends the previous
               research work on this topic resulting in a total of 5 patent families,
               comprising 11 international patents (4 granted, 7 pending).

         23.   On August 13, 2021, the Company filed with the SEC its quarterly report on Form

10-Q for the period ended June 30, 2021 (the “2Q21 Report”). Attached to the 2Q21 Report were

certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants

Palikaras and Rice attesting to the accuracy of financial reporting, the disclosure of any material

changes to the Company’s internal control over financial reporting and the disclosure of all

fraud.

         24.   The 2Q21 Report stated the following, in pertinent part, regarding the
Company’s agreements, commercialization, products, and production:



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      BUSINESS AND OPERATIONAL OVERVIEW
      The Company has generated a portfolio of intellectual property and is now
      moving toward commercializing products at a performance and price point
      combination that has the potential to be disruptive in multiple market verticals.
      The Company’s platform technology includes holography, lithography, and
      medical wireless sensing. … The Company’s advanced structural design
      technologies and scalable manufacturing methods provide a path to broad
      commercial opportunities in aerospace and defense, automotive, energy,
      healthcare, consumer electronics, and data transmission.
                                       *       *       *
      Holography Technology
      Meta’s principal products that employ holography technology are its
      METAAIR® laser glare protection eyewear, METAAIR® laser protection films
      for law enforcement and metaOPTIXTM notch filters. Meta co-developed its
      METAAIR® laser protection eyewear product with Airbus S.A.S. that has been
      engineered to provide laser glare protection for pilots, military and law
      enforcement using Meta’s holography technology. METAAIR® is a holographic
      optical filter developed using nano-patterned designs that block and deflect
      specific colors or wavelengths of light. Meta launched METAAIR® with strategic
      and exclusive distribution partner, Satair, a wholly owned Airbus company and
      started producing and selling METAAIR® in April 2019. The scale-up and
      specification for the raw photopolymer material used to produce the eyewear
      was successfully finalized in late 2019 and commercialized in 2020. Meta
      launched its laser protection films for law enforcement use in late 2020. These
      films are designed to be applied to face shields and helmet visors providing the
      wearer with the same type of laser eye protection afforded to pilots by
      METAAIR® glasses while preserving peripheral vision critical to law
      enforcement duties.
                                       *       *       *
      Lithography Technology
      … The Company’s current principal prototype product in lithography technology
      is its transparent conductive film, NANOWEB®. The lithography division
      operates out of the Company’s wholly owned U.S. subsidiary, which can produce
      meter-long samples of NANOWEB®, at a small volumes scale, for industry
      customers/partners.

      There are six NANOWEB®-enabled products and applications that are currently
      in early stages of development including NANOWEB® for Transparent EMI
      Shielding, NANOWEB® for Transparent Antennas, NANOWEB® for 5G signal
      enhancement, NANOWEB® for Touch Screen Sensors, NANOWEB® for Solar
      cells and NANOWEB® for Transparent Heating to de-ice and de-fog. More
      details of these products and applications can be found in META’s EDGAR
      filings and on META’s website at www.metamaterial.com.

      Throughout 2020 and 2021, the Company has been ordering and upgrading its
      equipment at its California facility to efficiently supply NANOWEB® samples in


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       larger volumes. The Company has entered into a collaboration agreement with
       Crossover Solutions Inc. to commercialize the NANOWEB®- enabled products
       and applications for the automotive industry and with ADI Technologies to help
       secure contracts with the US Department of Defense.

       Wireless Sensing Technology
       Wireless Sensing is the ability to cancel reflections (anti-reflection) from the skin
       to increase the Signal-to-Noise- Ratio (“SNR”) transmitted through body tissue to
       enable better medical diagnostics. This breakthrough wireless sensing technology
       is made using proprietary patterned designs, printed on metal-dielectric structures
       on flexible substrates that act as anti-reflection (impedance-matching) coatings
       when placed over the human skin in combination with medical diagnostic
       modalities, such as MRI, ultrasound systems, non-invasive glucometers etc. For
       example, as a medical imaging application, the Company is developing
       metaSURFACE™ (also known as RadiWise™) an innovation which allows up to
       40 times more energy to be transmitted through the human tissue, instead of being
       reflected. The benefit is increased diagnostic speed and imaging accuracy leading
       to patient throughput increases for healthcare providers. The metaSURFACE™
       device consists of proprietary non-ferrous metallic and dielectric layers that are
       exactingly designed to interact (resonate) with radio waves allowing the waves to
       “see-through the skin”.

       (Emphasis added.)

       25.    The statements referenced in ¶¶ 19-24 above were materially false and/or

misleading because they misrepresented and failed to disclose the following adverse facts

pertaining to the Company’s business, operational, and financial results, which were known to

Defendants or recklessly disregarded by them. Specifically, Defendants made false and/or

misleading statement and/or failed to disclose that: (1) the Business Combination would result in

an SEC investigation and subpoena in the matter captioned In the Matter of Torchlight Energy

Resources, Inc.; (2) the Company has materially overstated its business connections and

dealings; (3) the Company has materially overstated its ability to produce and commercialize its

products; (4) the Company has materially overstated its products’ novelty and capabilities; (5)

the Company’s products did not have the potential to be disruptive because, among other things,




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 the Company priced its products too high; and (6) as a result, Defendants’ public statements were

 materially false and/or misleading at all relevant times.

                                   The Truth Begins to Emerge

        26.     On November 15, 2021, after market hours, the Company filed with the SEC its

 quarterly report on Form 10-Q for the period ended September 30, 2021 (the “3Q21 Report”).

 The 3Q21 Report announced the SEC subpoena, stating the following in pertinent part:

        In September 2021, the Company received a subpoena from the Securities and
        Exchange Commission, Division of Enforcement, in a matter captioned In the
        Matter of Torchlight Energy Resources, Inc. The subpoena requests that the
        Company produces certain documents and information related to, among other
        things, the merger involving Torchlight Energy Resources, Inc. and
        Metamaterial Inc. The Company is cooperating and intends to continue to
        cooperate with the SEC’s investigation. The Company can offer no assurances as
        to the outcome of this investigation or its potential effect, if any, on the Company
        or its results of operation.

        (Emphasis added.)

        27.     On this news, Meta’s shares fell 3.9% to close at $4.77 per share on November

 16, 2021, damaging investors.

        28.     The 3Q21 Report also continued misleading investors, stating the following, in

 pertinent part, regarding the Company’s agreements, commercialization, products, and

 production:

        BUSINESS AND OPERATIONAL OVERVIEW
        The Company has generated a portfolio of intellectual property and is now
        moving toward commercializing products at a performance and price point
        combination that has the potential to be disruptive in multiple market verticals.
        The Company’s platform technology includes holography, lithography, and
        medical wireless sensing. … The Company’s advanced structural design
        technologies and scalable manufacturing methods provide a path to broad
        commercial opportunities in aerospace and defense, automotive, energy,
        healthcare, consumer electronics, and data transmission.
                                         *      *       *
        Holography Technology



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       … META’s principal products that employ holography technology are its
       METAAIR® laser glare protection eyewear, METAAIR® laser protection films
       for law enforcement and METAOPTIXTM notch filters. META co-developed its
       METAAIR® laser glare protection eyewear product with Airbus S.A.S. that has
       been engineered to provide laser glare protection for pilots, military and law
       enforcement using META’s holography technology. METAAIR® is a
       holographic optical filter developed using nano-patterned designs that block and
       deflect specific colors or wavelengths of light. META launched METAAIR®
       with strategic and exclusive distribution partner, Satair, a wholly owned Airbus
       company and started producing and selling METAAIR® in April 2019. The
       scale-up and specification for the raw photopolymer material used to produce
       the eyewear was successfully finalized in late 2019 and commercialized in 2020.
       META launched its laser glare protection films for law enforcement use in late
       2020. These films are designed to be applied to face shields and helmet visors
       providing the wearer with the same type of laser eye protection afforded to pilots
       by METAAIR® glasses while preserving peripheral vision critical to law
       enforcement duties. METAOPTIXTM notch filters are optical filters that
       selectively reject a portion of the spectrum, while transmitting all other
       wavelengths. They are used in applications where it is necessary to block light
       from a laser, as in machine vision applications and in confocal or multi-photon
       microscopy, laser-based fluorescence instrumentation, or other life science
       applications. METAOPTIXTM notch filters were commercially launched by the
       Company in November 2020.
                                        *       *      *
       Lithography Technology
       … The Company’s current principal prototype product in lithography
       technology is its transparent conductive film, NANOWEB®. The lithography
       division operates out of the Company’s wholly owned U.S. subsidiary, which can
       produce meter-long samples of NANOWEB®, at a small volumes scale, for
       industry customers/partners.

       There are six NANOWEB®-enabled products and applications that are currently
       in early stages of development including NANOWEB® for Transparent EMI
       Shielding, NANOWEB® for Transparent Antennas, NANOWEB® for 5G signal
       enhancement, NANOWEB® for Touch Screen Sensors, NANOWEB® for Solar
       cells and NANOWEB® for Transparent Heating to de-ice and de-fog. More
       details of these products and applications can be found in META’s EDGAR
       filings and on META’s website at www.metamaterial.com.

       Throughout 2020 and 2021, the Company has been ordering and upgrading its
       equipment at its California facility to efficiently supply NANOWEB® samples in
       larger volumes. The Company has entered into a collaboration agreement with
       Crossover Solutions Inc. to commercialize the NANOWEB® enabled products
       and applications for the automotive industry and with ADI Technologies to help
       secure contracts with the US Department of Defense.



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          Wireless Sensing Technology
          Wireless Sensing is the ability to cancel reflections (anti-reflection) from the skin
          to increase the Signal-to-Noise- Ratio (“SNR”) transmitted through body tissue to
          enable better medical diagnostics. This breakthrough wireless sensing technology
          is made using proprietary patterned designs, printed on metal-dielectric structures
          on flexible substrates that act as anti-reflection (impedance-matching) coatings
          when placed over the human skin in combination with medical diagnostic
          modalities, such as MRI, ultrasound systems, non-invasive glucometers etc. For
          example, as a medical imaging application, the Company is developing
          metaSURFACE™ (also known as RadiWise™) an innovation which allows up to
          40 times more energy to be transmitted through the human tissue, instead of being
          reflected. The benefit is increased diagnostic speed and imaging accuracy leading
          to patient throughput increases for healthcare providers. The metaSURFACE™
          device consists of proprietary non-ferrous metallic and dielectric layers that are
          exactingly designed to interact (resonate) with radio waves allowing the waves to
          “see-through the skin”.

          (Emphasis added.)

          29.    Attached to the 3Q21 Report were certifications pursuant to SOX signed by

 Defendants Palikaras and Rice attesting to the accuracy of financial reporting, the disclosure of

 any material changes to the Company’s internal control over financial reporting and the

 disclosure of all fraud.

          30.    The statements referenced in ¶¶ 28 and 29 above were materially false and/or

 misleading because they misrepresented and failed to disclose the following adverse facts

 pertaining to the Company’s business which were known to Defendants or recklessly disregarded

 by them. Specifically, Defendants made false and/or misleading statements and/or failed to

 disclose that: (1) the Company has materially overstated its business connections and dealings;

 (2) the Company has materially overstated its ability to produce its products; (3) the Company

 has materially overstated its products’ novelty and capabilities; (4) the Company prices its

 products too high and not at a price point that has the potential to be disruptive; and (5) as a

 result, Defendants’ public statements were materially false and/or misleading at all relevant

 times.


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                                        The Truth Emerges

        31.     On December 14, 2021, during market hours, market researcher Kerrisdale

 Capital released a report (the “Report”) alleging, among other things, that “Meta has habitually

 made outlandish and misleading claims about the feasibility, development, and commercial

 potential of various technologies only to repeatedly move the goalposts or retrospectively alter

 its claims, often just quietly dropping entire projects they had previously touted as pivotal.” The

 Report further summarized its findings, in relevant part, as follows:

        Meta’s public company filings and website portray an “advanced materials and
        photonics company…seeking to harness the power of light” in three areas:
        holography, lithography, and wireless sensing. But as we discuss at length below,
        Meta’s three current “businesses” have generated just about zero product
        revenue over the last ten years despite continuously making grandiose product
        development claims. We expect this trend to continue given that the company
        has never actually commercialized anything.
                                          *      *       *
        Before assessing whether there’s any commercial substance to these segments
        (in short: no), it’s instructive to examine the quiet failure of Meta’s early
        technological forays and the creative ways Meta was able to finance a façade of
        scientific accomplishment with no legitimate underpinning.
                                          *      *       *
        [Meta] deceptively promoted its early endeavors, seemingly in the pursuit of
        funding that almost certainly would not have been forthcoming if the truth were
        known to Meta’s counterparties. The company’s current operations range from
        the dismal failure of LGP glasses to the empty husk of the once-interesting
        NanoWeb to the outright falsehoods being told to promote non-existent medical
        devices. If that weren’t enough, the questionable circumstances around its reverse
        merger with Torchlight – tainted by a dubious CFO appointment, promotional
        social media buzz, and purposely muddied disclosures around suspiciously
        successful capital raises – make our assessment that much more damning. …
        Holograms and thin films are a fitting metaphor for Meta: a company that looks
        interesting at first glance but turns out to be a hollow illusion behind a flimsy
        veneer of aggressive promotion.

        (Emphasis added.)

        32.     The Report stated the following, in relevant part, regarding the Company’s

 partnerships, grants, and deals:



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       Meta’s description of the Lambda Solar segment remained unchanged from 2017
       to 2020, prominently promoting the Lockheed “partnership” but never actually
       indicating any progress towards development of a product. Currently, Meta’s
       website description of its solar business is the same one it’s presented since 2014,
       except it’s no longer call “Lambda Solar.” The consistent description of the
       relationship with Lockheed as a “partnership” is also directly at odds with the
       contract, in which Lockheed stipulates that the agreement “is not intended to
       constitute, give effect to, or otherwise create a joint venture, partnership,
       teaming agreement or other business entity of any kind. [emphasis added]” [sic]
                                         *       *       *
       Meta Materials creatively financed itself through research grants and
       customer deposits that were never earned, and more recently through
       reverse mergers
       … In July of 2018, Satair, a subsidiary of Airbus that distributes aircraft parts and
       equipment, signed a $2 million (USD) purchase order for Meta’s LGP glasses.
       Two months later, Satair signed an agreement to become the exclusive distributor
       of the LGP frames, paying Meta a C$1.3 million fee for the privilege. Two
       months after that, Satair advanced $500 thousand (C$655 thousand) in cash for
       the July purchase order. To date, of the $2 million order, only C$34 thousand
       has been filled, with about half a million dollars remaining an operating
       liability. The exclusivity fee, meanwhile, was booked by Meta as deferred
       revenue, which it continues to recognize at the current time. It turns out that
       Satair essentially funded Meta to the tune of C$2 million in return for 50 pairs
       of overpriced glasses to which plenty of cheaper and better alternatives exist
       (more on that below).

       The relationships with Lockheed and Satair provided Meta with two cash
       infusions totaling C$7.5 million that the company was able to also conveniently
       recognize as “development revenue” spread out over years, ironically without
       ever actually developing anything of value. Another creative source of funding
       for Meta over the years has been a variety of Canadian government-affiliated
       investments and loans:

          •   Between 2013 and 2019, the Atlantic Canada Opportunities Agency
              (ACOA), a Canadian government regional development agency, lent
              C$6.8 million to Meta, almost entirely in the form of interest free loans,
              and almost all of which is still outstanding. The lion’s share of these
              loans – C$6 million – was meant to support the commercialization of the
              Lamda Guard laser protection shields, a project subsequently dropped by
              Meta, and the LGP glasses, which Meta has been unsuccessful in
              commercializing.
          •   Sustainable Development Technology Canada (SDTC), a Canadian
              government-sponsored foundation that funds “clean-tech” startups, agreed
              to invest C$5.4M in Meta in late 2017 to fund expenses related to a project
              titled “Enabling solar flight: a testing ground for lightweight and efficient
              solar panels.” As with the Lockheed investment, this was over 3 years


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               after Lamda Solar was no longer active, so it’s not clear what Meta was
               going to do with the money. In the end, SDTC only invested C$1.99M,
               seemingly because Meta was not meeting its end of the deal, and there’s
               since been no disclosure from Meta as to how, or if, the project is
               advancing.

        (Emphasis added.)

        33.    The Report stated the following, in pertinent part, regarding the Company’s

 products and ability to commercialize them:

        Meta’s Current “Operations” are a Collection of Hopeless, Fake, and
        Obsolete Science Experiments

        Meta’s press releases and recent filings are meant to give (mostly retail)
        investors the impression of an advanced materials company with proprietary
        “nano” technology that can be applied to making progress in fields like
        medtech, automotive, 5G telecom, and “augmented reality.” If those sound like
        industries that coincidentally are expected to have the most exciting growth
        opportunities right now, and have therefore garnered the most generous
        valuations, that’s not a coincidence. As Meta’s experience with Lamda Solar and
        Lamda Lux have shown, the company has a track record of making misleading
        announcements and proclamations around its capabilities in trendy industries,
        such as solar and LED lighting ten years ago, only to quietly fail and move on
        to promoting the next breakthrough. But as with Solar and Lux, we expect
        Meta’s current businesses – to the extent they really exist – to wallow in
        irrelevance.
                                          *        *      *
        We can’t find any record of Satair’s blog posts marketing metaAIR glasses, and
        it’s difficult to explain why, if Meta really had completed the construction of a
        production facility, they didn’t fill Satair’s C$2 million purchase order of which
        Satair had already provided a cash down payment of C$500 thousand! If the
        tens of millions of dollars that were raised explicitly for the development and
        commercialization of this technology over the last seven years were really
        invested for that purpose, Meta’s inability to manufacture the metaAIR glasses at
        any level of scale reflects the magnitude of its operational ineptitude. It also
        suggests that, consistent with its longstanding practice, Meta may have greatly
        exaggerated its accomplishment of completing a production facility.

        It’s notable that the metaAIR product is not even very good. The underlying
        holographic technology, which involves using lasers to alter the optical properties
        of transparent light-sensitive polymers that comprise a thin film, is difficult and
        expensive to implement. It’s also complete overkill for a niche product with a lot
        of competition from cheaper and lower-tech alternatives that happen to do a much
        better job at protecting pilots’ eyes from potential laser strikes. Dye-based lenses,


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       such as those manufactured by Gentex and Revision, offer better durability,
       protection from multiple angles, and protection from a range of dangerous
       wavelengths, all for 15% of the price for which the metaAIR frames sell. Non-
       holographic thin-film options, such as those from Iridian and PerriQuest
       effectively offer the same protection as metaAIR lenses, also for 10-15% of the
       price. The metaAIR glasses are expensive, lack peripheral vision protection, are
       extremely vulnerable to scratching, and were only developed to protect from
       green-wavelength lasers (whereas the competitors mentioned here also offer
       protection from blue and red wavelengths). Even if Meta could figure out how to
       make them, they probably wouldn’t sell anyway.

       Meta’s latest absurd claim is that it will use its holographic “expertise” to improve
       augmented reality (AR) eyewear. But holography for AR is a commoditized and
       widely available technology, already incorporated in AR devices by large (and
       competent) technology companies like Cisco and Microsoft, while Facebook is
       already knee-deep into developing the next generation of holographic AR. It’s
       laughable to expect that Meta Materials will be able to develop any AR
       technology of value when it can’t even master basic holography to compete with
       niche sunglasses manufacturers.

       Meta’s med-tech segment is a sham
       … Digging into the MediWise story revealed a familiar pattern of smoke and
       mirrors that Meta exhibited in its other segments, though with the added bonus of
       a questionable set of related party transactions.

       MediWise was founded in 2010 by Meta’s CEO, George Palikaras. …
                                        *       *      *
       But glucoWISE didn’t exist. In fact, though glucoWISE remains the centerpiece
       of Meta’s “Wireless Sensing” technology, it still doesn’t exist. And it never will.
       John L. Smith, an accomplished research scientist and medtech executive has, for
       the last 15 years, updated his synopsis of the quest to invent a non-invasive
       glucose monitor. Smith documents close to a dozen different proposed modalities
       and dozens of different companies’ attempts. While Smith is agnostic as to
       whether such a feat is possible, his research makes it clear that it’s never been
       done and, as of the present time, there’s no sign that anyone is even close to the
       achievement. glucoWISE is actually just a bit player in the long history of
       exaggerated claims of having developed a non-invasive glucose monitor. Smith
       recounts how MediWise originally said they expected to begin taking “pre-
       orders” for glucoWISE in late 2016, but of course nothing ever came of that.
       Smith shows how this is a common pattern in the field, as these sorts of
       announcements by small companies have “perennially…been premature and
       meant to generate hype.”
                                        *       *      *
       This past July, Meta announced that it “completed a UK-funded project towards
       developing non-invasive glucose sensing system.” In the first paragraph of the
       press release, Meta proclaimed that it completed a project to “develop a non-


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       invasive glucose sensing prototype, which combined radio wave and optical
       sensors to improve accuracy in predicting glucose level changes.” Only later on
       does it become a bit clearer that the “improved accuracy” is not compared to
       traditional glucose monitoring but to glucose monitoring using just one of the two
       sensor methodologies used in the project.

       The press release also depicts computer-generated pictures of the monitoring
       system – which doesn’t actually exist – for promotional purposes [image
       omitted]. Most laughably, the underlying scientific study to which the press
       release links indicates that the project basically just tested whether some lab-
       rigged sensors can detect changes in the concentrations of glucose in solutions
       composed of only glucose and water, and using concentrations that ranged 2-
       50x normal blood-glucose levels. And even then, the sensors weren’t very
       accurate. The audacity of using measurements of glucose in water to suggest
       progress in measuring blood glucose through the skin barrier is hard to
       comprehend. The proclamations are so misleading that they should deem
       suspect almost any “scientific” claim that Meta makes.
                                        *       *       *
       While “wireless sensing” may not seem like one of the more prominent parts of
       Meta Materials, we think that Palikaras’ track record here is reflective of the same
       general approach we described with holography: the products being promoted
       either don’t exist or are grossly overstated, the underlying scientific effort is a
       sham, and all of it is enmeshed in a complicated series of financial transactions
       that seem more related to enriching management than developing any profitable
       business.

       NanoWeb hasn’t progressed since 2014, Meta seems to have no intention of
       commercializing it having ceased licensing a key patent, and it’s obsolete
       anyway
       Meta’s lithography segment is primarily composed of NanoWeb, a conductive
       TTF technology that it obtained when it acquired Rolith Incorporated in 2016.
                                        *      *      *
       … the overall conductive TTF sector has rapidly progressed while NanoWeb has
       laid dormant. At the current time, there is no NanoWeb spec sheet to be found,
       and Meta’s website says that NanoWeb transparent conductors are “coming
       soon!” As of March 2020, Meta stated that its “labs in Pleasanton, California can
       produce a meter long sample of NanoWeb for a variety of applications.” Those
       meter-long samples were the subject of the Rolith scientists’ 2014 paper
       referenced above, so it's clear that not much has changed in the intervening 6
       years.

       Most recently, Meta used $72 million of the $140 million in cash on its balance
       sheet to buy Nanotech, a Canadian penny-stock company that manufactures anti-
       counterfeit films that can be used with paper currency or luxury consumer goods.
       Meta has tried to claim that there are synergies between the lithography
       capabilities possessed by Nanotech and the lithography technology needed to


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        scale and commercialize Nanoweb. But we spoke with several of NanoWeb’s
        founding scientists, none of whom have remained at Meta since the 2016
        acquisition, and they explained that they’re extremely familiar with Nanotech’s
        rudimentary technology and that it would make no sense to even try to repurpose
        any of Nanotech’s manufacturing methods for the purpose of commercializing
        NanoWeb. Meta’s pronouncements conflating the two production processes are
        indicative of Meta’s management team either misleading investors or having no
        idea about what’s involved in commercializing NanoWeb and manufacturing it at
        scale.

        Even if Meta wanted to commercialize NanoWeb, and knew how to do it, one
        notable obstacle laying in its path relates to intellectual property. In late 2012,
        Rolith licensed a critical patterning method patent from the University of
        Michigan that was meant to be used in its lithography process. We discussed
        this with members of Jay Guo’s lab, and they told us that when they inquired with
        the university’s office that arranges IP licenses, they were told that Meta stopped
        paying for the license “years ago.” The fact pattern – zero development of
        NanoWeb, acquisition that has nothing to do with NanoWeb, and cessation of a
        critical patent license – leads us to believe that Meta’s management has no
        intention of ever commercializing NanoWeb at all, and is using the same
        promotional playbook it’s used in the rest of its business since 2012. It’s no
        wonder Rolith’s key founding scientists resigned from Meta in 2018.

        (Emphasis added.)

        34.    On this news, Meta’s shares fell 5.8% to close at $2.91 per share on December 14,

 2021, further damaging investors

        35.    As a result of Defendants’ wrongful acts and omissions, and the decline in the

 market value of the Company’s securities, Plaintiff and other Class members have suffered

 significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

        36.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

 otherwise acquired the publicly traded securities of the Company during the Class Period (the

 “Class”) and were damaged upon the revelation of the alleged corrective disclosure. Excluded

 from the Class are Defendants herein, the officers and directors of the Company, at all relevant


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 times, members of their immediate families and their legal representatives, heirs, successors or

 assigns and any entity in which Defendants have or had a controlling interest.

        37.     The members of the Class are so numerous that joinder of all members is

 impracticable. Throughout the Class Period, the Company’s securities were actively traded on

 the NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

 can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

 or thousands of members in the proposed Class. Record owners and other members of the Class

 may be identified from records maintained by the Company or its transfer agent and may be

 notified of the pendency of this action by mail, using the form of notice similar to that

 customarily used in securities class actions.

        38.     Plaintiff’s claims are typical of the claims of the members of the Class as all

 members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

 federal law that is complained of herein.

        39.     Plaintiff will fairly and adequately protect the interests of the members of the

 Class and has retained counsel competent and experienced in class and securities litigation.

 Plaintiff has no interests antagonistic to or in conflict with those of the Class.

        40.     Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are:

        (a)     whether Defendants’ acts as alleged violated the federal securities laws;

        (b)     whether Defendants’ statements to the investing public during the Class Period

                misrepresented material facts about the financial condition, business, operations,

                and management of the Company;



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         (c)       whether Defendants’ statements to the investing public during the Class Period

                   omitted material facts necessary to make the statements made, in light of the

                   circumstances under which they were made, not misleading;

         (d)       whether the Individual Defendants caused the Company to issue false and

                   misleading SEC filings and public statements during the Class Period;

         (e)       whether Defendants acted knowingly or recklessly in issuing false and misleading

                   SEC filings and public statements during the Class Period;

         (f)       whether the prices of the Company’s securities during the Class Period were

                   artificially inflated because of the Defendants’ conduct complained of herein; and

         (g)       whether the members of the Class have sustained damages and, if so, what is the

                   proper measure of damages.

         41.       A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

 the damages suffered by individual Class members may be relatively small, the expense and

 burden of individual litigation make it impossible for members of the Class to individually

 redress the wrongs done to them. There will be no difficulty in the management of this action as

 a class action.

         42.       Plaintiff will rely, in part, upon the presumption of reliance established by the

 fraud-on-the-market doctrine in that:

         (a)       Defendants made public misrepresentations or failed to disclose material facts

                   during the Class Period;

         (b)       the omissions and misrepresentations were material;

         (c)       the Company’s securities are traded in efficient markets;



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         (d)     the Company’s securities were liquid and traded with moderate to heavy volume

                 during the Class Period;

         (e)     the Company traded on the NASDAQ, and was covered by market analysts;

         (f)     the misrepresentations and omissions alleged would tend to induce a reasonable

                 investor to misjudge the value of the Company’s securities;

         (g)     Plaintiff and members of the Class purchased and/or sold the Company’s

                 securities between the time the Defendants failed to disclose or misrepresented

                 material facts and the time the true facts were disclosed, without knowledge of the

                 omitted or misrepresented facts; and

         (h)     Unexpected material news about the Company was rapidly reflected in and

                 incorporated into the Company’s stock price during the Class Period.

         43.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

 presumption of reliance upon the integrity of the market.

         44.     Alternatively, Plaintiff and the members of the Class are entitled to the

 presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

 of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

 information in their Class Period statements in violation of a duty to disclose such information,

 as detailed above.

                                             COUNT I

                 Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                                     Against All Defendants

         45.     Plaintiff repeats and realleges each and every allegation contained above as if

 fully set forth herein.




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        46.     This Count is asserted against the Defendants and is based upon Section 10(b) of

 the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        47.     During the Class Period, the Defendants, individually and in concert, directly or

 indirectly, disseminated or approved the false statements specified above, which they knew or

 deliberately disregarded were misleading in that they contained misrepresentations and failed to

 disclose material facts necessary in order to make the statements made, in light of the

 circumstances under which they were made, not misleading.

        48.     The Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

 employed devices, schemes and artifices to defraud; made untrue statements of material facts or

 omitted to state material facts necessary in order to make the statements made, in light of the

 circumstances under which they were made, not misleading; and/or engaged in acts, practices

 and a course of business that operated as a fraud or deceit upon plaintiff and others similarly

 situated in connection with their purchases of the Company’s securities during the Class Period.

        49.     The Defendants acted with scienter in that they knew that the public documents

 and statements issued or disseminated in the name of the Company were materially false and

 misleading; knew that such statements or documents would be issued or disseminated to the

 investing public; and knowingly and substantially participated, or acquiesced in the issuance or

 dissemination of such statements or documents as primary violations of the securities laws.

 These defendants by virtue of their receipt of information reflecting the true facts of the

 Company, their control over, and/or receipt and/or modification of the Company’s allegedly

 materially misleading statements, and/or their associations with the Company which made them

 privy to confidential proprietary information concerning the Company, participated in the

 fraudulent scheme alleged herein.



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         50.      Individual Defendants, who are a senior officers and directors of the Company,

 had actual knowledge of the material omissions and/or the falsity of the material statements set

 forth above, and intended to deceive Plaintiff and the other members of the Class, or, in the

 alternative, acted with reckless disregard for the truth when they failed to ascertain and disclose

 the true facts in the statements made by them or other personnel of the Company to members of

 the investing public, including Plaintiff and the Class.

         51.     As a result of the foregoing, the market price of the Company’s securities was

 artificially inflated during the Class Period. In ignorance of the falsity of the Defendants’

 statements, Plaintiff and the other members of the Class relied on the statements described above

 and/or the integrity of the market price of the Company’s securities during the Class Period in

 purchasing the Company’s securities at prices that were artificially inflated as a result of the

 Defendants’ false and misleading statements.

         52.     Had Plaintiff and the other members of the Class been aware that the market price

 of the Company’s securities had been artificially and falsely inflated by the Defendants’

 misleading statements and by the material adverse information which the Defendants did not

 disclose, they would not have purchased the Company’s securities at the artificially inflated

 prices that they did, or at all.

         53.      As a result of the wrongful conduct alleged herein, Plaintiff and other members

 of the Class have suffered damages in an amount to be established at trial.

         54.     By reason of the foregoing, the Defendants have violated Section 10(b) of the

 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the Plaintiff and the other

 members of the Class for substantial damages which they suffered in connection with their

 purchases of the Company’s securities during the Class Period.



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                                             COUNT II

                         Violation of Section 20(a) of The Exchange Act
                               Against The Individual Defendants

        55.     Plaintiff repeats and realleges each and every allegation contained in the

 foregoing paragraphs as if fully set forth herein.

        56.     During the Class Period, the Individual Defendants participated in the operation

 and management of the Company, and conducted and participated, directly and indirectly, in the

 conduct of the Company’s business affairs. Because of their senior positions, they knew the

 adverse non-public information regarding the Company’s business practices.

        57.     As officers and directors of a publicly owned company, the Individual Defendants

 had a duty to disseminate accurate and truthful information with respect to the Company’s

 financial condition and results of operations, and to correct promptly any public statements

 issued by the Company which had become materially false or misleading.

        58.     Because of their positions of control and authority as senior officers, the

 Individual Defendants were able to, and did, control the contents of the various reports, press

 releases and public filings which the Company disseminated in the marketplace during the Class

 Period. Throughout the Class Period, the Individual Defendants exercised their power and

 authority to cause the Company to engage in the wrongful acts complained of herein. The

 Individual Defendants, therefore, were each a “controlling person[]” of the Company within the

 meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful

 conduct alleged which artificially inflated the market price of the Company’s securities.

        59.     The Individual Defendants, therefore, acted as controlling persons of the

 Company. By reason of their senior management positions and being a director of the Company,

 the Individual Defendants had the power to direct the actions of, and exercised the same to cause,


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 the Company to engage in the unlawful acts and conduct complained of herein. The Individual

 Defendants exercised control over the general operations of the Company and possessed the

 power to control the specific activities which comprise the primary violations about which

 Plaintiff and the other members of the Class complain.

        60.        By reason of the above conduct, the Individual Defendants are liable pursuant to

 Section 20(a) of the Exchange Act for the violations committed by the Company.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants as follows:

        A.         Determining that the instant action may be maintained as a class action under

 Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

 representative;

        B.         Requiring Defendants to pay damages sustained by Plaintiff and the Class by

 reason of the acts and transactions alleged herein;

        C.         Awarding Plaintiff and the other members of the Class prejudgment and post-

 judgment interest, as well as their reasonable attorneys’ fees, expert fees, and other costs; and

        D.         Awarding such other and further relief as this Court may deem just and proper.

                                  DEMAND FOR TRIAL BY JURY

        Plaintiff hereby demands a trial by jury.




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 Dated: January 3, 2022             Respectfully submitted,

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